Case 2:04-cv-02646-.]DB-dkv Document 38 Filed 05/06/05 Page 1 of 2 Page|D 49

Fn.En 3‘5 _ zo.o.
IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 95 ;[1;';\;' _5 gm 393 52

 

   
   

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RICHARD E. sHERMAN AND ..§3“1§~@_ …I_ §H§§FC
RICHARI) A. MATTA, JR " " PLAINTIFFS
vS. DOCKET No. 04-2646-3 v
TESCO EQUIPMENT, LLC AND
TESCo HI-LIFT, INC., I)EFENDANTS

 

ORDER DENYING TRAFICANTS’
MOTION FOR RELIEF FROM ORDER

 

THIS CAUSE came on for hearing upon motion of the Trai`icants for relief from the Court’s
Order dated April ]3, 2005 and the Court having considered same finds that the Said motion is not
well taken and that said motion should be denied

IT IS, THEREFORE, ORDERED AND ADJUDGED that the Traficants’ Motion for

Relief From Order herein is denied

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so oR])EREl)rhis, the 54 day of wo?/ ,2005.

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Diane K. Vescovo
U.S. Magistrate Judge

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
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Honorable J. Breen
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